                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:25-CV-00042-KDB-SCR


 WESLEY NEWMAN,                                  )
                                                 )
                   Plaintiff,                    )
                                                 )
 v.                                              )
                                                 )                      ORDER
 DEMAYO LAW OFFICES, LLP, et. al.,               )
                                                 )
                 Defendants.                     )



       THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

Affidavit [for Anthony Paronich]” (Doc. No. 2) filed January 21, 2025. For the reasons set forth

therein, the Motion will be granted.


       The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel and to the Honorable Kenneth D. Bell.


       SO ORDERED.

                                             Signed: January 22, 2025




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